Case:18-01276-KHT Doc#:12 Filed:03/14/19           Entered:03/14/19 10:17:20 Page1 of 2




                       UNITED STATES BANKRUPTCY COURT
                        FOR THE DISTRICT OF COLORADO


 In re:                                    )              Case No.: 18-14487-KHT
                                           )
 DERRICK J. MARTIN, JR.                    )              Chapter 7
                                           )
       Debtor.                             )              Adversary No.: 18-01276-KHT
 __________________________________________)
                                           )
 JEFFREY PETTY and KATHLEEN PETTY          )
                                           )
       Plaintiffs,                         )
                                           )
 v.                                        )
                                           )
 DERRICK J. MARTIN, JR.                    )
                                           )
       Defendant.                          )



               DEFENDANT’S MOTION FOR EXTENSION OF TIME


        COMES NOW Defendant, Derrick J. Martin, Jr., by and through undersigned counsel,
 and hereby requests until March 22, 2019 to respond to the “Plaintiffs’ Motion for Summary
 Judgment Re: Issue of Nondischargeability (with supporting authority)”.

 DATED: 3/14/2019                                  ALLSTATE LAW CENTER, P.C.

                                                   \s\ Lawrence R. Hill
                                                   Lawrence R. Hill, #17447
                                                   Attorney for Defendant
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 Page 1 of 2
Case:18-01276-KHT Doc#:12 Filed:03/14/19          Entered:03/14/19 10:17:20 Page2 of 2




                                    CERTIFICATE OF SERVICE

         The undersigned hereby certifies that true and correct copies of the DEFENDANT’S
 MOTION FOR EXTENSION OF TIME and proposed ORDER were placed in the U.S.
 Mail, postage pre-paid, on this 14th day of March, 2019, addressed as follows:

 Derrick J. Martin, Jr.
 23593 E. Chenengo Place
 Aurora, CO 80016-5955

 David V. Wadsworth, II
 Chapter 7 Trustee
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 DATED: 3/14/2019                                 \s\ Lawrence R. Hill




 Page 2 of 2
